 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

BLUESHIELD OF NEW JERSEY, Magistrate Judge Bryant

SHARLENE DRYER and )
ROBERT DRYER, )
)
Plaintiffs, )
)
v. ) Docket No. 3:09-cv-00561
)
HORIZON BLUE CROSS ) Judge Nixon
)
)
)

Defendant.

STIPULATION OF DISMISSAL
As evidenced by the signatures of counsel to the parties below, the parties have reached
an agreement resolving all claims in this case. Accordingly, pursuant to Fed. R. Civ. P. 4l, the
parties hereby agree that all claims filed in this case shall be dismissed with prejudice, with each
party to bear its own costs and fees.

IT IS SO STIPULATED.

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/s/ Tim Hatton

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